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Ftab 12(10/09)
VAE(rev.S/17)
                                 UNITED STATES DISTMCT COURT
                                                     for the
                                 EASTERN DISTRICT OF VIRGINIA


U.S.A. vs. Dadrian L.Halev                                      Docket No. 1:16MJ253

                                              Petitioii on Probation

         COMES NOW Daniel D. GiUesoie. Jr.. PROBATION OFFICER OF THE COURT, presenting an
ofBcial report upon the conduct and attitude of Dadrian L. Halev. >vho was placed on supervision by the
Honorable Thomas Rawles Jones, Jr., United States Magistrate Judge sitting in the Court at Alexandria.
Virginia,on the^day of August 2016. who fixed the period ofsupervision at two (2^1 vears. and imposed the
general terms and contlitions heretofore adopted by the Court and also imposed special conditions and terms as
follows:

                                                   See Page 2.



RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                  See Attachnient(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.



Returnable Date:                        V. %c>f? Q io'Cp



                 ORDER OF COURT
                                  i.j                         I declare under the penalty of peijury that the
Considered and ordered this I r day of Julv.                  foregoing is true and correct
2018 and order^ filed and made a p^ of the
records in the above case.                                    Executed on: July 11,2018
                                                                  ot).                  2018.07.11 1634:11 -04'G0'
            —-                        uji                     Daniel D.Gillespie, Jr.
            Michael 8. Nachmanoff ^*1'                        U.S. Probation Officer
            United States Magistrate Judge
Michael S. Nachmanoff                                         Place Alexandria. Virginia
United States Magistrate Judge




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Petition on Probation
Page 2
RE:Haley,Dadrian L.

Special Conditions Probation

1.     The defendant shall serve seven (7) days in home confinement with monitoring at level the probation
       officer deems appropriate and with timeouts as directed.

2.    The defendant shall not violate any local, state or federal traffic law.

3.    The defendant shall pay the special assessment during the period ofprobatioa


The Court further ordered the term of supervision be converted to unsupervised probation after the
condition relating to home confinement has been satisfied. The Court also suspended the mandatoiy
substance abuse testing requirement.




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Petition on Probation
Page 3
RE:HalQT,Dadrian L.

OFFENSE: Operating After Suspensioa

SENTENCE:The defendant was sentenced to two(2)years probation with the special conditions ofsupervision
listed on page two(2). A $25.00 special assessment was also imposed at sentencing.

ADJUSTMENT TO SUPERVISION: The defendant overall adjustment to probation has been unsatisfectory as
he has incurred new law violations which remain pending in Prince William County, Virginia, and has failed to
satisfy his monetary penalty imposed at the time ofsentencing.

The probation ofScer would note that defendant has been arrested on two(2)occasions for misdemeanor assault
charges v4iile on supervision. The first offense occurred on November 18, 2016, and was nolle prossed on
January 3, 2018. The second offense occurred on March 15, 2018, and remains pending. Violation reports
were submitted to the Court requesting no action pending disposition ofthe state cases. The March 15,2018,
offense is not scheduled for an adjudication hearing until after the defendant's scheduled expiration date.

On October 17, 2016, the defendant completed his home confinement requirement and was converted to
unsupervised probation at that time.

VIOLATIONS:The following violations are submitted for the Court's consideration.


MANDATORY/SPECIAL CONDITION 2:                     NEW LAW VIOLATION - 1) OPERATING AFTER
                                                   REVOCATION/SUPENSION; 2)SPEEDING 76 MPH
                                                   IN A 60 MPH ZONE.

On March 4,2017,in Essex County, Virginia the defendant was charged with the above listed offenses pursuant
to a trafdc stop. The defendant was released on a sununons to appear in Essex County General District Court.
Following several continuances in the case, on April 19, 2018, a failure to appear warrant was issued for the
defendant's arrest The warrant remains outstanding at this time and is non-extraditable outside the State of
Virginia. This officer advised the defendant to surrender on the warrant It is noted that the defendant has not
had a valid driver's license at any point during the probation period.

MANDATORY CONDITION:                               NEW LAW VIOLATION - DOMESTIC ASSAULT
                                                   AND BATTERY.

On March 15,2018, the defendant was arrested in Prince William County, Virginia,for the above listed offense
following an argument with his girlfnend, Christina Kadar, regarding a prior romantic relationship. According
to the Prince William County Police incident report, Ms. Kadar had visible red marks on her neck which were
consistent with her statement that the defendant grabbed her by the neck. No other marks or injuries were
reflected in the report.

The defendant was arrested and transported to the Prince William County Adult Detention Center where he was
released on a $10,000.00 unsecured bond.

It is noted that Ms. Kadar refused an emergency protective order at the time of the offense and noted she
believed she would reconcile with the defendant following his release.

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Petition on Probation
Page 4
RE:Haley,Dadrian L.

This officer has been in recent contact with Ms. Kadar who advised that she and the defendant remain in a
romantic relationship and continue to reside together. She further advised she remains with the position not to
pursue charges at the court appearance.

The case is currently scheduled for an adjudication hearing on August 22, 2018, in Prince William County
Juvenile and Domestic Relations Court.

SPECIAL CONDITION 3:                FAILURE TO PAY THE IMPOSED SPEICAL ASSESSMENT.

The defendant has failed to satisfy his monetary requirement in this case despite numerous directives from this
officer over the past two(2) year period to satisfy the condition. Contact was made with the defendant on July
9, 2018, regarding the outstanding requirement. He advised he would be able to make payment by July 13,
2018. The monetary penalty remains outstanding at this time.


DDG/mbp
KMR




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